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                   IN THE UNITED STATES DISTRICT COURT FO^HE inopenc®.
                            EASTERN DISTRICT OF VIRGINIA


                                      Alexandria Division



 UNITED STATES OF AMERICA                           Case No. l:23-CR-65


        V.                                          Count 1: Transportation of Child Pornography
                                                             18 U.S.C. § 2252(a)(1) and (b)(1)
 JAMES GORDON MEEK,
                                                    Count 2: Distribution of Child Pornography
                           Defendant.                        18 U.S.C. § 2252(a)(2) and (b)(1)

                                                    Count 3: Possession of Child Pornography
                                                             18 U.S.C. § 2252(a)(4)(B) and (b)(2)

                                                    Forfeiture Notice: 18 U.S.C. § 2253(a)


                                        INDICTMENT


                           March 2023 Term—at Alexandria, Virginia

                                         COUNT ONE
                           (Transportation of Child Pornography)

THE GRAND JURY CHARGES THAT:


       On or about February 28, 2020, within the Eastern District of Virginia and elsewhere, the

defendant, JAMES GORDON MEEK, knowingly transported in and affecting interstate and

foreign commerce one or more visual depictions, and the producing of such visual depictions

involved the use of a minor engaging in sexually explicit conduct and such visual depictions were

of such conduct.


       (In violation of Title 18, U.S. Code, Sections 2252(a)(1) and (b)(1).)
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                                        COUNT TWO
                            (Distribution of Child Pornography)

THE GRAND JURY FURTHER CHARGES THAT:

       On or about April 5,2020, within the Eastern District of Virginia, the defendant, JAMES

GORDON MEEK,knowingly distributed and attempted to distribute one or more visual depictions

using any means and facility ofinterstate and foreign commerce; and the producing ofsuch visual

depictions involved the use of a minor engaging in sexually explicit conduct, and the visual

depictions were ofsuch conduct.

      (In violation of Title 18, U.S. Code, Sections 2252(a)(2) and (b)(1).)
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                                        COUNT THREE
                              (Possession of Child Pornography)

THE GRAND JURY FURTHER CHARGES THAT:


       On or about April 27,2022, within the Eastern District of Virginia,the defendant, JAMES

GORDON MEEK,knowingly possessed and attempted to possess one or more matters containing

at least one visual depiction that had been shipped and transported using any means and facility of

interstate and foreign commerce,and in and affecting interstate and foreign commerce,and which

was produced using any materials which had been mailed and so shipped and transported, by any

means including by computer; and the producing of such visual depictions involved the use of a

minor engaging in sexually explicit conduct, and such visual depictions were ofsuch conduct; and

at least one image of child pornography involved in the offense involved a prepubescent minor

and a minor who had not attained 12 years of age.

      (In violation of Title 18, U.S. Code, Sections 2252(a)(4)(B) and (b)(2).)
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                                    FORFEITURE NOTICE


    THE GRAND JURY FURTHER FINDS that there is probable cause that the property

described below is subject to forfeiture.

       The defendant, JAMES GORDON MEEK,is hereby notified, pursuant to Federal Rule of

Criminal Procedure 32.2(a), that upon conviction of any count ofthe Indictment, he shall forfeit

to the United States: (1) any and all matter that contain visual depictions of minors engaged in

sexually explicit conduct in violation of the ch^ged offenses;(2) any property, real or personal,

constituting or traceable to gross profits or other proceeds obtained firom such offenses; and (3)

any property,real or personal,used or intended to be used to commit or to promote the commission

of the offense, and any property traceable to such property.. This property includes, but is not

limited to:


       1. One Apple laptop, serial number WQ028CSZATM;

       2. One iPhone 8, Model A1863,IMEI356700087103227,S/N FFPVNENQJC6C;

       3. One iPhone 5c, Model A1532,IMEI 358534058799970, S/N FFMN64SXFNDD;

       4. One 2terabjde extemal hard drive,identifying number 18037244-11; and

       5. One iPhone 6, Model A1549,IMEI 356990063425906, S/N DNPNX8F4G5MG.

       If any property subject to forfeiture is unavailable, the United States may seek an order

forfeiting substitute assets pursuant to Title 21, U.Sl Code, Section 853(p) and Federal Rule of

Criminal Procedure 32.2(e).
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(All in accordance with Title 18, U.S. Code, Section 2253; Title 18 U.S. Code, Section 853(p);
and Fed. R. Crim. P. 32.2(a)& 32.2(e).)



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       Jessica D. Aber
       United States Attorney

By:         Vvl-UV1'TN''^-'^dTC.f
       Zee Bedell
             |
       Assistant United States Attorney
       Whitney Khamer
       Special Assistant United States Attorney(LT)
